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                              UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF OKLAHOMA


  KATHRYN TAYLOR,                                           )
                                                            )
                        Plaintiff,                          )
                                                            )
  v.                                                        ) Case No. 17-cv-525-GKF-JFJ
                                                            )
  AIG PROPERTY CASUALTY COMPANY                             )
  and INTEGRO USA INC.,                                     )
                                                            )
                        Defendants.                         )


                                                   ORDER


        The Court has for its consideration the parties' Joint Motion to Amend the February 8, 2018

 Scheduling Order (the "Joint Motion"; Docket No. 40). After due consideration,

        IT IS HEREBY ORDERED that the Joint Motion is GRANTED and therefore the Court's

 February 8, 2018 Scheduling Order (Docket No. 35) is hereby amended and superseded by the

 following schedule:

  1      10.15.18      EXCHANGE OF PRELIMINARY WITNESS LISTS AND EXHIBITS
                       (Not Filed of Record)

  2.     10.15.18      PLAINTIFF'S EXPERT IDENTIFICATION & REPORTS
                       (Under Fed. R. Civ. P. 26(a)(2)) (Not Filed of Record)

  3      10.29.18      DEFENDANTS' EXPERT IDENTIFICATION & REPORTS
                       (Under Fed. R. Civ. P. 26(a)(2)) (Not Filed of Record)

  4.     11.12.18      DISCOVERY CUTOFF
                       (Interrogatories and Rule 34 Requests must be made 30 days in advance of this date)

  5.     12.06.18      DISPOSITIVE MOTIONS AND DAUBERT MOTIONS

  6.     12.06.18      MOTIONS IN LIMINE
                       (Attorney meeting to resolve issues required before filing)

  7.     02.11.19      HEARING ON DISPOSITIVE MOTIONS at 1:30 p.m.
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  8.       02.12.19     DEPOSITION/VIDEOTAPE/INTERROGATORY DESIGNATIONS
                        (File pleading with deponent name, page and line designations)

  9.       02.19.19     COUNTER-DEPOSITION/VIDEOTAPE/INTERROGATORY DESIGNATIONS
                        (File pleading with deponent name, page and line designations)

  10.      02.26.19     TRANSCRIPTS ANNOTATED WITH OBJECTIONS & BRIEFS ON UNUSUAL
                        OBJECTIONS FILED
                        (Attorney Meeting to resolve objections required before filing)

  11.      02.22.19     PRETRIAL DISCLOSURE
                        (Under Fed. R. Civ. P. 26(a)(3))

  12.      03.01.19     AGREED PROPOSED PRETRIAL ORDER
                        (Including Final Witness & Exhibit Lists With Objections)

  13.      03.07.19     PRETRIAL CONFERENCE at 9:30 a.m.

  14.      03.18.19     REQUESTED JURY INSTRUCTIONS; REQUESTED VOIR DIRE & TRIAL BRIEFS

  15.      03.25.19     JURY TRIAL DATE at 9:30 a.m.



       IT IS SO ORDERED this 24th day of April, 2018.




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